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                    UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISON
                                                                                            f^O'/ ^4 ?
Shaquille Prince,                                                                                   4019
Plaintiff,                                                                                                 «P
                                                  )
                                                  )
V,
                                                  )
Sgt. Micliienzi #357. Romeoville PD                             1:19-cv-07265
                                                  )
Detective Dorris, Romeoville PD
Unknown Officer, Romeoville PD
                                                  )             Judge Robert W. Gettleman
                                                  )      Case
Village of Romeoville,
                                                  )
                                                                Magistrate Judge Jeffrey T. Gilbert
Dispatcher Karen, Romeoville PD                                 PC 3
                                                  )
Unknown Sgt #1 Romeoville PD
                                                  )
Unknown Sgt #2 Romeoville PD
                                                  )
Officer Garcia, Romeoville PD
Defendants.




     COMPLAINT UNDER THE CIVIL RIGHTS ACT,TITLE 42 SECTION 1983 U.S. CODE

         Plaintiff: Shaquille Prince   Current Address: 95 S. Chicago St. Joliet, Illinois 60432

2        Defendants:(1) Sgt. Michienzi #357 of the Romeoville, Illinois Police Department

        (2) Detective Dorris of the Romeoville, Illinois Police Department

        (3) Unknown Officer of the Romeoville, Illinois Police Department

        (4) The Village of Romeoville

        (5) Dispatcher “Karen” of the Romeoville., Illinois Police Department

        (6) Sgt. Unknown #1 of the Romeoville, Illinois Police Department

        (7) Sgt. Unknown #2 of the Romeoville, Illinois Police Department

        (8) Officer Garcia of the Romeoville, Illinois Police Department

                    I have not filed any lawsuits before and an inmate made this for me.

                                                  CLAIM


On December 21, 2018,1 went to the Romeoville Police Department to file a complaint regarding
excessive force, assault, false arrest, and police misconduct, pursue criminal charges, and pick up a
FOIA including video of myself being choked while handcuffed in the back of a police vehicle in front
of my house by Officer Garcia after accusing me of Felony Burglary and Felony Resisting in my own
home. On December 21, 2018,1 went to the Romeoville PD and explained all of this to Sgt. Michienzi
(badge number #357) and he refused to take the complaint, and tried to persuade me not to file the
complaint, stating that he knew the officers and that I should try and work it out with them. 1 had gone
to the Romeoville PD multiple times to try and file complaints and was denied each time. On
December 21, 2018 because I tried to file a complaint, before I could leave the Romeoville PD,
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 Sgt.Michienzi conspired with Unknown Officer by radioing him and meeting with him outside ofthe
 police station, following me out ofthe doors as I left and demanded that I come back into the station
 and threatened me with violence ifI didn't. I recorded the situation and asked ifI was free to go or
.under arrest. He told me I was free to go, and I proceeded to leave. Then shortly after, Sgt.Michienzi
 illegally arrested, assaulted, illegally searched, robbed me at gunpoint of my phones that I recorded him
 on telling me that I am free to go, and then marked them as lost in his police report, threatened to shoot
 me,got rid of my FOIA,and brought false charges against me in an effort to pressure me not to pursue
 any further action. Malicious prosecution, assault, due process violation, conspiracy, violation ofthe
fourth amendment.


The Romeoville PD,as a matter of policy, encourages it's officers and employees to engage in
misconduct by using excessive force, conspiring to hide that excessive force, preventing and
suppressing complaints of misconduct, and using criminal prosecution to further punish those who
attempt to complain while simultaneously working to insulate officers from formal investigation into
their misconduct. Policymakers for the Village of Romeoville know of, and have ratified these unlawful
policies. The Village of Romeoville failed to adequately train their officers.

I have been incarcerated at the Will County Adult Detention Facility for 140 days and counting as a
result of Sgt.Michienzi's lies and misconduct.

On December 21,2018 Detective Dorris ofthe Romeoville PD,failed to stop the excessive force that
he witnessed during my arrest, and conspired with Sgt. Michienzi to falsify police reports.

On December 21,2018 Dispatcher Karen ofthe Romeoville PD relayed inaccurate information to the
Romeoville PD and instructed them to arrest me.


On December 21,2018 Sgt. Unknown #1 ofthe Romeoville PD refused to allow me to file a complaint
regarding this incident.

On December 21,2018 Sgt. Unknown #1 and 2 ofthe Romeoville PD knew ofthe false charges and
conspired with Sgt. Michienzi to initiate the false charges.

                                                 PRAYER


Plaintiff demands judgment against the defendants:

A.For compensatory damage as determined by the trier offact to adequately compensate the plaintiff
for the injuries described in this complaint;

B. For punitive and exemplary damages as determined by the trier offact to punish each defendant
against which they are awarded and to deter future similar conduct by that defendant;

C. For Plaintiffs costs and disbursements ofthis action;

D.For Plaintiffs attorney's fees incurred in prosecuting this action pursuant to 42 U.S.C. 1988 and

E. For all other reliefthat is proper

                                          Jury Trial Demanded
